      Case 1:19-bk-13274               Doc 48          Filed 10/08/20 Entered 10/08/20 09:46:28                             Desc Main
                                                      Document      Page 1 of 11
 Fill in this information to identify the case:

 Debtor 1        Anthony Tenkotte

  Debtor 2
                 (Spouse if Filing)

 United States Bankruptcy Court for the:                Southern               District of         OH
                                                                                                 (State)

 Case Number     19-13274




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                       Wilmington Savings Fund Society, FSB, not in its
                       individual capacity but solely as Owner Trustee of Court claim no. (if
   Name of Creditor    CSMC 2018-RPL2 Trust                               known):                                      10

   Last 4 digits of any number you use to identify                         Date of payment change:
   the debtor's account:                                 4265              Must be at least 21 days after date of November 1, 2020
                                                                           this notice

                                                                           New total payment:                                 1,322.94
                                                                           Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
        No
      X Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
             the basis for the change. If a statement is not attached, explain why:


               Current escrow payment:            $       288.55                             New escrow Payment: $              387.02


Part 2:      Mortgage Payment Adjustment

 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
       variable-rate account?
          No
      X Yes    Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
               not attached, explain why:


               Current interest rate                       7.6500 %                          New Interest rate:              7.6500 %
               Current principal and interest payment:      $         935.92       New principal and interest payment: $                 935.92

Part 3:      Other Payment Change




Official Form 410S1                                        Notice of Mortgage Payment Change                                              page 1
     Case 1:19-bk-13274                   Doc 48        Filed 10/08/20 Entered 10/08/20 09:46:28                                  Desc Main
                                                       Document      Page 2 of 11
  1. Will there be a change in the debtor's mortgage payment for a reason not listed above?
         X No
            Yes   Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                  agreement. (Court approval may be required before the payment change can take effect.)
                  Reason for Change:
                  Current mortgage payment:        $                                   New Mortgage Payment: $




Debtor 1                                                                                Case Number (if
                  Anthony                                      Tenkotte                 known)                                19-13274
                  First Name             Middle Name           Last Name



Part 4:         Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
           I am the creditor

         X I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of
my knowledge, information, and reasonable belief:



                        /s/ David C Nalley                                                 Date 10/08/2020
                      Signature


Print:                David                  C                      Nalley (0064045)        Title         Attorney for Creditor
                      First Name             Middle Name            Last Name

Company               Reisenfeld & Associates LLC

Address               3962                 Red Bank Road
                      Number               Street

                      Cincinnati                          OH                45227
                      City                                State             Zip Code

Contact Phone         1-513-322-7000                                                        Email          ohbk@rslegal.com




Official Form 410S1                                             Notice of Mortgage Payment Change                                        page 2
    Case 1:19-bk-13274             Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28            Desc Main
                                            Document      Page 3 of 11
                                            CERTIFICATE OF SERVICE
I certify that on the ______
                       8th   day of _____________________,
                                      October              _______
                                                           2020    a copy of the foregoing was served:
Via the Court's electronic case filing system on these entities and individuals who are listed on the Court's
Electronic Mail Notice List:
         Via ECF Mail:
                      David A. Kruer, Debtor's Counsel
                      dkandco@fuse.net
                      Margaret A Burks, Bankruptcy Trustee
                      Cincinnati@cinn13.org
                      U.S. Trustee
                      ustpregion09.ci.ecf@usdoj.gov
         Via Regular U.S. Mail, postage prepaid on:
                      Anthony Tenkotte , Debtor
                      3976 Williams Dr.
                      Cincinnati, OH 45255




                                                                          /s/ David C Nalley
                                                                          David C Nalley, Esq.




Official Form 410S1                               Notice of Mortgage Payment Change                     page 3
Case 1:19-bk-13274   Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28   Desc Main
                              Document      Page 4 of 11
Case 1:19-bk-13274   Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28   Desc Main
                              Document      Page 5 of 11
Case 1:19-bk-13274   Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28   Desc Main
                              Document      Page 6 of 11
Case 1:19-bk-13274   Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28   Desc Main
                              Document      Page 7 of 11
Case 1:19-bk-13274   Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28   Desc Main
                              Document      Page 8 of 11
Case 1:19-bk-13274   Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28   Desc Main
                              Document      Page 9 of 11
Case 1:19-bk-13274   Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28   Desc Main
                              Document     Page 10 of 11
Case 1:19-bk-13274   Doc 48    Filed 10/08/20 Entered 10/08/20 09:46:28   Desc Main
                              Document     Page 11 of 11
